           Case 1:21-cr-00670-CJN Document 76-1 Filed 05/25/22 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
      v.                                      )     Criminal No. 21-670 (CJN)
                                              )
STEPHEN K. BANNON,                            )
                                              )
                Defendant.                    )
                                              )
                                              )



      [PROPOSED] ORDER GRANTING THE UNITED STATES HOUSE OF
  REPRESENTATIVES’ MOTION FOR LEAVE TO FILE AMICUS CURIAE BRIEF


       UPON CONSIDERATION of the United States House of Representatives’ Motion for

Leave to File Amicus Curiae Brief, it is hereby

       ORDERED that the motion is GRANTED. The Clerk is directed to file the House’s

amicus curiae brief on the docket in this matter.

       SO ORDERED.


Dated: __________
                                              _________________________________
                                              The Honorable Carl J. Nichols
                                              UNITED STATES DISTRICT JUDGE
